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IN THE UNITED sTATEs DISTRICT coURT

FoR THE wESTERN DISTRICT oF TENNESSEE QSJUH»B PH 3:57
wEsTERN DIVISION

    

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CL M,US.MSLCL
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MOCK, INc.,

Plaintiff,
vs. Civ. No. 05-2033-B[P

QUALITEST USA, LC.,

Defendant.

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SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was set
for June 9, 2005. Prior to the conference, Douglas F. Halijan and
Taylor A. Cates, counsel for plaintiff and Brad Trammell and Lea
Speed, counsel for defendant submitted a joint proposed order which
was approved by the Court. The following dates were established as
the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1): May 26, 2005
JOINING PARTIES: June 30, 2005

AMENDING PLEADINGS: June 30, 2005

INITIAL MOTIONS TO DISMISS: July 29, 2005

COMPLETING ALL DISCOVERY: DeCember 30, 2005

(a) DOCUMENT PRODUCTION: DeCemb€r 30, 2005

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(b) DEPOSITIONS,r INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: DeCember 30, 2005

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: January 31, 2006

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: MarCh l, 2006

(3) EXPERT WITNESS DEPOSITIONS: April l5, 2006
FILING DISPOSITIVE MOTIONS: May l, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days cf the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for a jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding judge. lt is anticipated. that the trial will last
approximately 3-4 days.

The parties believe that settlement may be enhanced by use of
voluntary facilitative mediation and will cooperate regarding the
scheduling of same after appropriate discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

extended.

TU M. PHAM
United States Magistrate Judge

DATE= joyce § : 9'13~5§

IT IS SO ORDERED.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02033 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

